Case 2'03-cV-02330-SHI\/|-ch Document 428 Filed 08/18/05 Page 1 of 5 Page|D 757

FlLED m oPEN COURT.
IN THE UNITED sTArES DISTRICT CoURT DATE: . .. _Q¥'lft ‘05

FoR THE wESTERN DISTRICT oF TENNESSEE "M 5:-»--“-5-¢°3’--&£"-'-~

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WESTERN DIVISION LS --------___

 

 

LECTROLARM CUSTOM SYSTEMS, INC.,
Plaintiff,
v.

VICON INDUSTRIES, INC., et al. CIVIL NO. 03-2330 (Ma)(A)

Judge Mays

Defendants. Magistrate Judge Anderson

\-__/\_/\-_/\»/ \_/\\_/\-.v"/\-_/\./\./\._/

 

~f£'RGP€S-E-B-} ORDER

Before the Court is Plaintiff` Lectrolarm Custom Systems, Inc.’s unopposed motion
for a one-Week enlargement of the deadline for Mr. Smith’s doctor to submit an in camera report
to the Court. For good cause shown, the motion is GRANTED. The- report shall be submitted no
later than August 31, 2005.

IT IS SO ORDERED.

Dated: gzé§@,t d , 2005

FW@_

Magistrate Judge Anderson

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Honorable Samuel Mays
US DISTRICT COURT

